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 5

 6
                           UNITED STATES DISTRICT COURT
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8

 9                                             ) NO. 07-cr-00248-WBS-7
     UNITED STATES OF AMERICA,                 )
10                                             )
                  Plaintiff-Appellee,          ) ORDER FOR COPIES OF
11                                             ) TRANSCRIPTS OF SEALED
           vs.                                 ) PROCEEDINGS
12                                             )
     ALVARO COBIAN GOMEZ,                      )
13                                             )
                  Defendant-Appellant.         )
14                                             )
15

16                                          ORDER
17

18        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that
19   the sealed portions of the transcripts for the hearings held on September 22, 2008
20   and July 23, 2012 shall be unsealed and provided to defendant’s counsel only for
21   purposes of evaluating their relevance to potential appellate issues. A copy of the
22   transcript, if requested, shall also be provided to counsel for the United States for
23   the same purposes.
24

25         IT IS SO ORDERED.
26   Dated: May 28, 2014
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